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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
_______________________________________

Soren Stevenson,                                            Civ. No. 20-2007 (SRN/TNL)

                                      Plaintiff,
v.

Benjamin Bauer, acting in his individual
capacity as a Minneapolis Police Officer, et al.,

                            Defendants.
_______________________________________

                     PLAINTIFF’S NOTICE OF ACCEPTANCE OF
                     CLARIFIED RULE 68 OFFER OF JUDGMENT

         On February 9, 2022, Plaintiff received a Rule 68 Offer of Judgment from

Defendants Benjamin Bauer, Matthew Severance and Ryan McCann, which is attached

hereto as Exhibit A. Pursuant to authority from the Eighth Circuit, Plaintiff sought

“clarification” regarding the Offer. See Radecki v. Amoco Oil Co., 858 F.2d 397, 402-03 (8th

Cir. 1988). Specifically, Plaintiff inquired whether the City of Minneapolis was the entity

financially responsible for the paying the offered judgement amount, $2.4 million plus

Section 1988 fees and costs incurred by Plaintiff (as determined by the Court). On February

11, 2022, undersigned counsel for Plaintiff received verbal clarification that the City was

responsible for payment. Written confirmation of the same was received the same day,

which is attached hereto as Exhibit B.

         As such, pursuant to Rule 68(a) of the Federal Rules of Civil Procedure, Plaintiff

Soren Stevenson, through his undersigned counsel, hereby accepts and provides notice that




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he has accepted the attached Rule 68 Offer of Judgment dated February 9, 2022, with the

included clarification regarding payment of the resultant judgment.



Dated: February 22, 2022           ROBINS KAPLAN LLP


                                   s/Robert Bennett
                                   Robert Bennett, #6713
                                   Andrew J. Noel, #322118
                                   Kathryn H. Bennett, #0392087
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